
		
				ZAMARRIPA v. STATE2022 OK CR 9Case Number: RE-2021-13Decided: 06/16/2022JOSE JOEL ZAMARRIPA, Appellant v. THE STATE OF OKLAHOMA, Appellee
Cite as: 2022 OK CR 9, __  __

				

ORDER GRANTING APPLICATION FOR PUBLICATION
¶1 On April 28, 2022, an opinion was handed down in the above-styled proceeding. Zamarripa v. State, No. RE-2021-13 (Okl. Cr. April 28, 2022) (unpublished). The opinion, among other things, clarified the standard of review for claims of excessive punishment in a revocation appeal, the scope of this Court's Rule 3.11(B)(3)(b), Rules of the Oklahoma Court of Criminal Appeals, Title 22, Ch. 18, App. (2022), allowing for supplementation of the record, and the proper procedure for appealing from an order of revocation in cases where revocation was based upon the defendant's stipulation, confession, or plea of guilty to the probation violations alleged in the motion to revoke.
¶2 On May 9, 2022, the State of Oklahoma, by and through the Attorney General of Oklahoma, John M. O'Connor, filed a Motion for Publication in the above-referenced matter.1 For good cause shown, the Court GRANTS the State's request for publication.
¶3 IT IS THEREFORE THE ORDER OF THIS COURT that the Summary Opinion filed on April 28, 2022, is hereby AUTHORIZED FOR PUBLICATION. The unpublished opinion is withdrawn and substituted with 2022 OK CR 10, Zamarripa v. State.
¶4 IT IS SO ORDERED.
¶5 WITNESS OUR HANDS AND THE SEAL OF THIS COURT this 16th day of June, 2022.
&nbsp;
/S/SCOTT ROWLAND, Presiding Judge
/S/ROBERT L. HUDSON, Vice Presiding Judge
/S/GARY L. LUMPKIN, Judge
/S/DAVID B. LEWIS, Judge
/S/WILLIAM J. MUSSEMAN, Judge
ATTEST:/s/John D. HaddenClerk
FOOTNOTES
1 On May 12, 2022, Appellant, through counsel Virginia Sanders, filed a limited response in support of the State's Motion for Publication.




